Case 22-18303-JKS             Doc 127       Filed 06/01/23 Entered 06/01/23 15:39:05      Desc Main
                                           Document      Page 1 of 4



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     Norgaard, O'Boyle & Hannon
     184 Grand Avenue
     Englewood, NJ 07631
     Telephone No. (201) 871-1333
     Counsel to Debtors
     By: John O'Boyle, Esq. (6337)                        Case No.:          ____________________
                                                                                   22-18303
         joboyle@norgaardfirm.com
                                                          Chapter:           ____________________
                                                                                      11


     In Re:                                               Adv. No.:          ____________________
     ALEXANDRE DACOSTA and                                Hearing Date:      ____________________
                                                                                  July 6, 2023
     VIVIANNE ANTUNES
                       Debtor(s).                         Judge:             ____________________
                                                                                     JKS



                                     CERTIFICATION OF SERVICE

1. I, ____________________________
       Shiryl M. Ferreira          :

           ☐ represent ______________________________ in this matter.

           ☐ am the secretary/paralegal for ___________________________,
                                             Norgaard, O'Boyle & Hannon  who represents
           ______________________________
           the debtors                    in this matter.

           ☐ am the ______________________ in this case and am representing myself.



2.         On _____________________________
                       June 1, 2023        , I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.
              First Application for Compensation for Norgaard O'Boyle & Hannon



3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:      _______________________
           6/1/23                                        __________________________________
                                                         /s/ Shiryl M. Ferreira
                                                         Signature
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 Name and Address of Party Served          Relationship of               Mode of Service
                                          Party to the Case
 Mark Politan, Esq.                                           ☐ Hand-delivered
 Politan Law, LLC
                                                              ☐ Regular mail
 88 E. Main St., #502
 Mendham, NJ 07945-1832                                       ☐ Certified mail/RR
                                                              ☐ E-mail
                                                              ☐ Notice of Electronic Filing (NEF)
                                                              ☐ Other _____________________
                                                                (as authorized by the court *)

 Peter D'Auria, Es.                                           ☐ Hand-delivered
 Office of the US Trustee
 US Dept. of Justice                                          ☐ Regular mail
 One Newark Center, Ste. 2100                                 ☐ Certified mail/RR
 Newark, NJ 07102
                                                              ☐ E-mail
                                                              ☐ Notice of Electronic Filing (NEF)
                                                              ☐ Other _____________________
                                                                (as authorized by the court *)

 Steven D. Pertuz, Esq.                                       ☐ Hand-delivered
 111 Northfield Avenue, Ste. 304
 West Orange, NJ 07052                                        ☐ Regular mail
                                                              ☐ Certified mail/RR
                                                              ☐ E-mail
                                                              ☐ Notice of Electronic Filing (NEF)
                                                              ☐ Other _____________________
                                                                (as authorized by the court *)

Alexandre J. Dacosta and                                      ☐ Hand-delivered
Vivianne C. Antunes
80 Columbia Avenue                                            ☐ Regular mail
Kearny, NJ 07030                                              ☐ Certified mail/RR
                                                              ☐ E-mail
                                                              ☐ Notice of Electronic Filing (NEF)
                                                              ☐ Other _____________________
                                                                (as authorized by the court *)



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                                                                        ☐ Certified mail/RR
                                                                        ☐ E-mail
                                                                        ☐ Notice of Electronic Filing (NEF)
                                                                        ☐ Other _____________________
                                                                          (as authorized by the court *)

* May account for service by fax or other means as authorized by the court through the issuance of an Order
Shortening Time.
                                                                                                         rev.8/1/15

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